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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:13-CR-00084-GEB
12                 Plaintiff,                           ORDER TO INCORPORATE MONEY
                                                        JUDGMENT ORDER INTO JUDGMENT
13          v.                                          IN A CRIMINAL CASE
14   SURJIT SINGH, ET AL.,
15                 Defendants.
16

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18          The Stipulation and Order for Money Judgment entered November 13, 2018, is hereby made

19 final as to defendant Surjit Singh and shall be incorporated into the Judgment in a Criminal Case filed
20 November 19, 2018.

21          SO ORDERED.
     Dated: November 21, 2018
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29                                                               Order to Incorporate Money Judgment Order Into Judgment

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